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Attorneys for Plaintiff
UNITED STATES OF AMERICA




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII




UNITED STATES OF AMERICA,                CR. NO       CR 1 7 0 0 512 0                f


                                         INFORMATION
              Plaintiff,
                                         18 U.S.C. §13
              vs.                        H.R.S. §291E-61(a)(3)

WYATT J. HOWARD,
                                         Cit. No.: 6793052/H30
              Defendant.
                                         A&P Date: MAY 24, 2017



                                 INFORMATION


                  The United States Attorney charges:

           That on or about March 4, 2017 at Marine Corps Base

Hawaii, Kaneohe Bay, Hawaii, a place within the special maritime

and territorial jurisdiction of the United States, in the

District of Hawaii, WYATT J. HOWARD, defendant herein, unlawfully

operated or assumed actual physical control of a vehicle upon a
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public way, street, road, or highway, while with .08 or more

grams of alcohol per two hundred ten liters of breath.

           All in violation of Hawaii Revised Statutes 291E-


61(a)(3), a federal offense pursuant to Title 18, United States

Code, Section 13, Assimilative Crimes Act.


                 DATED: '^/17/(7                 , at Honolulu, Hawaii,

                                       Elliot Enoki #1528
                                       Acting United States Attorney
                                       District of Hawaii



                                        iK M. BEASLEY
                                       Special Assistant U.S. Attorney




UNITED STATES v. WYATT J. HOWARD
CR. NO.:
Cit. No.: 6793052/H30
"INFORMATION"


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